  Case: 1:09-cr-00026-RLF-GWC        Document #: 35     Filed: 04/16/10    Page 1 of 4




                   DISTRICT COURT OF THE VIRGIN ISLANDS

                              DIVISION OF ST. CROIX
                                          5
UNITED STATES OF AMERICA,                 5
                                          5
                        Plaintiff,        5           2009-cr-26
       v.                                 5
                                          5
DORA BIBIANA RAMIREZ LAVERDE a/k/a 5
DORA BIBIANA R.L. CHITOLIE, JOSHUA 5
ALLEN CHITOLIE, and ABEL AMIN             5
GONELL ARTILES a/k/a AVEL PARILLA         5
a/k/a AVEL PAREJA a/k/a AVEL AGONEL 5
a/k/a SIBOW,                              5
                                          5
                        Defendants.       5
__________________________________________5



TO:   Denise A. Hinds, Esq., AUSA
      George H. Hodge, Jr., Esq.
      Patricia Schrader-Cooke, Esq., AFPD
      Leslie Levi Payton, Esq.



                                        ORDER

      THIS MATTER is before the Court upon Defendant Joshua Allen Chitolie’s Motion

to Vacate Order Granting Motion to Transfer Trial (Docket No. 28). Defendants Laverde

and Artiles filed oppositions to said motion, and a hearing was held on Friday, April 16,

2010. Denise A. Hinds, Esq., AUSA, represented the government. George H. Hodge, Jr.,

Esq., appeared on behalf of Defendant Dora Bibana Ramirez Laverde; Patricia Schrader-

Cooke, Esq., AFPD, appeared on behalf of Defendant Joshua Allen Chitolie; and, Leslie
  Case: 1:09-cr-00026-RLF-GWC            Document #: 35      Filed: 04/16/10     Page 2 of 4



United States v. Laverde
1:09-cr-26
Order
Page 2



Levi Payton, Esq., appeared on behalf of Defendant Abel Amin Gonell Artiles. All

Defendants also were present.

        Defendant Chitolie moves the Court to vacate its order granting Defendants’

Laverde and Artiles’ joint motion for transfer on the grounds that he was not given the

opportunity to respond to the said motion prior to the issuance of the order and that the

evidence before the Court was insufficient to support the order to transfer.

        The Court finds that, even though the Court did not provide a lengthy explanation

for its previous ruling, the evidence in the record supports transfer. The factors to be

considered when deciding whether to transfer a case include:

        (1) location of [the] . . . defendant; (2) location of possible witnesses; (3)
        location of events likely to be in issue; (4) location of documents and records
        likely to be involved; (5) disruption of defendant's business unless the case
        is transferred; (6) expense to the parties; (7) location of counsel; (8) relative
        accessibility of [the] place of trial; (9) docket condition of each district ...
        involved; and (10) any other special elements which might affect the transfer.

Platt v. Minnesota Mining & Mfg. Co., 376 I.S. (1964) (quoted in In re United States, 273 F.3d

380, 387-88 (3d Cir. 2001). The burden of proof is borne by the moving party. However,

the movant is “not required to show ‘”truly compelling circumstances” for . . . change . .

. . [of venue, but rather that] all relevant things considered, the case would be better off
  Case: 1:09-cr-00026-RLF-GWC           Document #: 35     Filed: 04/16/10    Page 3 of 4



United States v. Laverde
1:09-cr-26
Order
Page 3



transferred to another district.’” In re United States, 273 F.3d at 388 (quoting Matter of

Balsimo, 68 F.3d 185,187 (7th Cir. 1995)).

        In the matter at bar, Defendants Laverde and Artiles both are located in St. Thomas.

Only Defendant Chitolie is located in St. Croix. This factor weighs in favor of transfer.

        Given that Defendants are located in both St. Croix and St. Thomas and the incidents

giving rise to the charges apparently occurred in both St. Croix and St. Thomas, it is safe

to surmise that witnesses and documents and other evidence are located in both venues.

Consequently, the Court finds that the factors numbered 2, 3, and 4 are neutral.

        With regard to factor numbered 5, Defendant Laverde is gainfully employed and

Defendant Artiles is self-employed. Defendant Chitolie also is self-employed. Unless this

case is transferred, Defendants Laverde and Artiles will suffer disruption of business,

which, in the aggregate, is greater than any disruption to Defendant Chitolie’s business.

        As with the previous factor, the expense to the parties factor weighs in favor of

transfer because the expense to Defendants Laverde and Artiles is double that of Defendant

Chitolie’s.

        When considering the location of counsel, the fact that Defendant Chitolie is

represented by the Office of the Federal Public Defender is significant. The Court finds that

this factor weighs in favor of transfer.
  Case: 1:09-cr-00026-RLF-GWC         Document #: 35      Filed: 04/16/10   Page 4 of 4



United States v. Laverde
1:09-cr-26
Order
Page 4



        The remaining enumerated factors are neutral.

        Based upon the foregoing, the Court concludes that, on balance, transfer is

appropriate and that it did not err when it granted the motion and ordered this matter

transferred to the Division of St. Thomas and St. John.

        Accordingly, it is now hereby ORDERED that Defendant Joshua Allen Chitolie’s

Motion to Vacate Order Granting Motion to Transfer Trial (Docket No. 28) is DENIED.

                                                ENTER:



Dated: April 16, 2010                           /s/ George W. Cannon, Jr.
                                                GEORGE W. CANNON, JR.
                                                U.S. MAGISTRATE JUDGE
